     Case 2:19-cv-02456-KJM-DB Document 48 Filed 02/19/20 Page 1 of 4

 1   XAVIER BECERRA
     Attorney General of California
 2   TAMAR PACHTER
     Supervising Deputy Attorney General
 3   CHAD A. STEGEMAN, State Bar No. 225745
     Deputy Attorney General
 4    455 Golden Gate Ave., Ste. 11000
      San Francisco, CA 94102-7004
 5    Telephone: (415) 510-3624
      Fax: (415) 703-5843
 6    E-mail: Chad.Stegeman@doj.ca.gov
     Attorneys for Defendants Xavier Becerra, Lilia
 7   García-Brower, Julie A. Su, and Kevin Kish, in their
     official capacities
 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                       SACRAMENTO DIVISION
11

12

13   CHAMBER OF COMMERCE OF THE                             2:19-cv-02456-KJM-DB
     UNITED STATES OF AMERICA., et al.,
14                                                          PRELIMINARY INJUNCTION APPEAL
                                          Plaintiffs,
15                                                          NOTICE OF APPEAL TO THE UNITED
                   v.                                       STATES COURT OF APPEALS FOR
16                                                          THE NINTH CIRCUIT
     XAVIER BECERRA, et al.,
17
                                        Defendants.
18                                                          Action Filed: December 9, 2019

19                                                          Judge: Kimberly J. Mueller.

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                                                                     Defs.’ Not. Appeal (2:19-cv-02456-KJM-DB)
     Case 2:19-cv-02456-KJM-DB Document 48 Filed 02/19/20 Page 2 of 4

 1              Defendants Xavier Becerra, Lilia García-Brower, Julie A. Su, and Kevin Kish, in their

 2   official capacities, appeal to the United States Court of Appeals for the Ninth Circuit from this

 3   Court’s January 31, 2020 minute order (ECF No. 44) and February 7, 2020 written order (ECF

 4   No. 47) granting Plaintiffs’ motion for a preliminary injunction barring enforcement of Assembly

 5   Bill 51.

 6
     Dated: February 19, 2020                               Respectfully submitted,
 7
                                                            XAVIER BECERRA
 8                                                          Attorney General of California
                                                            TAMAR PACHTER
 9                                                          Supervising Deputy Attorney General
10                                                          / s / Chad A. Stegeman
                                                            CHAD A. STEGEMAN
11                                                          Deputy Attorney General
                                                            Attorneys for Defendants Xavier Becerra,
12                                                          Lilia García-Brower, Julie A. Su, and Kevin
                                                            Kish, in their official capacities
13   SA2019106348

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                                                                   Defs.’ Not. Appeal (2:19-cv-02456-KJM-DB)
       Case 2:19-cv-02456-KJM-DB Document 48 Filed 02/19/20 Page 3 of 4


                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Xavier Becerra, Lilia García-Brower, Julie A. Su, and Kevin Kish, in their official
capacities

Name(s) of counsel (if any):
Chad A. Stegeman



Address: 455 Golden Gate Ave., Ste. 11000, San Francisco, CA 94102
Telephone number(s): 415.510.3624
Email(s): chad.stegeman@doj.ca.gov
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Chamber of Commerce of the United States, California Chamber of Commerce


Name(s) of counsel (if any):
Donald M. Falk, Mayer Brown LLP



Address: Two Palo Alto Square, 3000 El Camino Real, Palo Alto, CA 94306
Telephone number(s): 650.331.2000
Email(s): DFalk@mayerbrown.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
      Case 2:19-cv-02456-KJM-DB Document 48 Filed 02/19/20 Page 4 of 4


Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:
Chamber of Commerce of the United States, California Chamber of Commerce

Name(s) of counsel (if any):
Archis A. Parasharami, Mayer Brown LLP


Address: 1999 K. Street, N.W. Washington, DC 20006
Telephone number(s): 202.263.3000
Email(s): AParasharami@mayerbrown.com
Name(s) of party/parties:
National Retail Federation, Cal. Retailers Ass'n, National Ass'n of Security
Companies, Home Care Ass'n of America, Cal. Ass'n for Health Services at Home
Name(s) of counsel (if any):
Bruce J. Sarchet, Little Mendelson, P.C.


Address: 500 Capitol Mall, Ste. 200, Sacramento, CA 95814
Telephone number(s): 916.830.7200
Email(s): bsarchet@littler.com
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
